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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

LORD ABBETT AFFILIATED FUND, INC.,
et al., Individually and On Behalf of All Others   C.A. No. 16-112-MN
Similarly Situated,
                                                   Judge Maryellen Noreika
                            Plaintiffs,

                     v.

NAVIENT CORPORATION, et al.,

                            Defendants.


               JUDGMENT APPROVING CLASS ACTION SETTLEMENT

       WHEREAS, a consolidated securities class action is pending in this Court entitled Lord

Abbett Affiliated Fund, Inc., et al. v. Navient Corporation, et al., No. 1:16-cv-00112-MN (the

“Action”);

       WHEREAS, by Order dated September 2, 2020 (D.I. 174), this Court certified the Action

to proceed as a class action on behalf of following classes (the “Classes”):

               (a)     For claims brought pursuant to the Securities Exchange Act of 1934 (the

“Exchange Act Class”): all persons and entities who purchased or otherwise acquired Navient

Corporation’s (“Navient”) common stock or Navient call options, or sold Navient put options,

from April 17, 2014 through September 29, 2015, inclusive (the “Exchange Act Class Period”)—

and who were damaged thereby.1

               (b)     For claims brought pursuant to the Securities Act of 1933 (the “Securities

Act Class”): all persons and entities who purchased or otherwise acquired Navient’s 5.000%

Senior Notes due 2020 (CUSIP 63938CAA6), 5.875% Senior Notes due 2024 (CUSIP


1
  For the avoidance of doubt, the Exchange Act Class includes all persons and entities who
received shares as part of Navient’s formation through a spin-off from Sallie Mae.
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63938CAB4), and 5.875% Senior Notes due 2021 (CUSIP 63938CAC2) (collectively, “Navient

Senior Notes”) from November 6, 2014 through December 28, 2015, inclusive (the “Securities

Act Class Period”)—and who were damaged thereby.2

       WHEREAS, the Court’s September 2, 2020 Order also appointed Lord Abbett Affiliated

Fund, Inc., Lord Abbett Equity Trust–Lord Abbett Calibrated Mid Cap Value Fund, Lord Abbett

Bond-Debenture Fund, Inc., and Lord Abbett Investment Trust–Lord Abbett High Yield Fund

(collectively, the “Lord Abbett Funds” or “Lead Plaintiffs”) as Class Representatives for the

Classes; and appointed Bernstein Litowitz Berger & Grossmann LLP (“Lead Counsel”) as Class

Counsel for the Classes;

       WHEREAS, by Order dated April 12, 2021, the Court approved the form and manner of

providing notice to potential Class Members (the “Class Notice”) to notify them of, among other

things: (a) the Action pending against Defendants; (b) the Court’s certification of the Action to

proceed as a class action on behalf of the Classes; (c) their right to request to be excluded from

one or both of the Classes, (d) the effect of remaining in the Classes or requesting exclusion,

(e) and the requirements for requesting exclusion (D.I. 226) (the “Class Notice Order”);

       WHEREAS, pursuant to the Class Notice Order, the Class Notice was disseminated to

potential Class Members who could be identified through reasonable effort (D.I. 283);

       WHEREAS, the Class Notice provided sufficient opportunity for those putative Class

Members who wished to exclude themselves from one or both of the Classes to do so;




2
 Excluded from both Classes are: Defendants, their officers and directors, all members of their
immediate families, their legal representatives, heirs, successors, or assigns, and any entity in
which Defendants have a majority ownership interest. Also excluded from the Classes are the
persons and entities who requested exclusion from the Classes in connection with the Class
Notice, as listed in Appendix 1 to the Stipulation (defined below).


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       WHEREAS, pursuant to the Class Notice, ten (10) persons and entities requested

exclusion from the Classes. A list of the persons and entities who requested exclusion pursuant

to the Class Notice is attached as Appendix 1 to the Stipulation;

       WHEREAS, (a) Lead Plaintiffs, on behalf of themselves and the Classes, and

(b) defendants Navient, John F. Remondi, Somsak Chivavibul, John Kane, William M.

Diefenderfer, III, Ann Torre Bates, Diane Suitt Gilleland, Linda Mills, Barry A. Munitz, Steven

L. Shapiro, Jane J. Thompson, Barry L. Williams, Barclays Capital Inc., Credit Suisse Securities

USA LLC, Deutsche Bank Securities Inc., Goldman, Sachs & Co. (n/k/a Goldman Sachs & Co.

LLC), J.P. Morgan Securities, LLC, Merrill Lynch, Pierce, Fenner & Smith Incorporated (n/k/a

BofA Securities, Inc.), RBC Capital Markets, LLC, RBS Securities Inc. (n/k/a NatWest Markets

Securities Inc.), and Wells Fargo Securities, LLC (collectively, “Defendants”) have entered into

a Stipulation and Agreement dated November 16, 2021 (the “Stipulation”), that provides for a

complete dismissal with prejudice of the claims asserted against Defendants in the Action on the

terms and conditions set forth in the Stipulation, subject to the approval of this Court (the

“Settlement”);

       WHEREAS, unless otherwise defined in this Judgment, all capitalized words contained

herein shall have the same meanings as they have in the Stipulation;

       WHEREAS, by Order dated November 22, 2021 (D.I. 341) (the “Preliminary Approval

Order”), this Court: (a) found, pursuant to Rule 23(e)(1)(B) of the Federal Rules of Civil

Procedure, that it would likely be able to approve the Settlement as fair, reasonable, and adequate

under Rule 23(e)(2); (b) ordered that notice of the proposed Settlement be provided to potential

Class Members; (c) provided Class Members with the opportunity to object to the proposed

Settlement; and (d) scheduled a hearing regarding final approval of the Settlement;




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       WHEREAS, due and adequate notice of the Settlement has been given to the Classes and

the provisions of the Preliminary Approval Order as to notice were complied with;

       WHEREAS, the Court conducted a hearing on March 17, 2022 (the “Settlement

Hearing”) to consider, among other things, (a) whether the terms and conditions of the

Settlement are fair, reasonable, and adequate to the Classes, and should therefore be approved;

and (b) whether a judgment should be entered dismissing the Action with prejudice as against the

Defendants; and

       WHEREAS, the Court having reviewed and considered the Stipulation, all papers filed

and proceedings held herein in connection with the Settlement, all oral and written comments

received regarding the Settlement, and the record in the Action, and good cause appearing

therefor;

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

       1.      Jurisdiction – The Court has jurisdiction over the subject matter of the Action,

and all matters relating to the Settlement, as well as personal jurisdiction over all of the Parties

and each of the Class Members.

       2.      Incorporation of Settlement Documents – This Judgment incorporates and

makes a part hereof: (a) the Stipulation filed with the Court on November 17, 2021; and (b) the

Settlement Notice and the Summary Settlement Notice, both of which were filed with the Court

on February 10, 2022.

       3.      Settlement Notice – The Court finds that the dissemination of the Settlement

Notice and the publication of the Summary Settlement Notice: (a) were implemented in

accordance with the Preliminary Approval Order; (b) constituted the best notice practicable

under the circumstances; (c) constituted notice that was reasonably calculated, under the




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circumstances, to apprise Class Members of (i) the effect of the proposed Settlement (including

the Releases to be provided thereunder); (ii) Lead Counsel’s motion for an award of attorneys’

fees and payment of Litigation Expenses; (iii) their right to object to any aspect of the

Settlement, the Plan of Allocation, and/or Lead Counsel’s motion for attorneys’ fees and

Litigation Expenses; and (iv) their right to appear at the Settlement Hearing; (d) constituted due,

adequate, and sufficient notice to all persons and entities entitled to receive notice of the

proposed Settlement; and (e) satisfied the requirements of Rule 23 of the Federal Rules of Civil

Procedure, the United States Constitution (including the Due Process Clause), the Private

Securities Litigation Reform Act of 1995, 15 U.S.C. §§ 77z-1, 78u-4, as amended, and all other

applicable law and rules.

       4.      CAFA Notice – Defendants have complied with the Class Action Fairness Act of

2005, 28 U.S.C. § 1715, et seq. (“CAFA”). Defendants timely mailed notice of the Settlement

pursuant to 28 U.S.C. § 1715(b), including notices to the Attorney General of the United States

of America and the Attorneys General of each State. The CAFA notice contains the documents

and information required by 28 U.S.C. § 1715(b)(1)-(8). The Court finds that Defendants have

complied in all respects with the notice requirements of CAFA.

       5.      Final Settlement Approval and Dismissal of Claims – Pursuant to, and in

accordance with, Rule 23(e)(2) of the Federal Rules of Civil Procedure, this Court hereby fully and

finally approves the Settlement set forth in the Stipulation in all respects (including, without

limitation: the amount of the Settlement; the Releases provided for therein; and the dismissal with

prejudice of the claims asserted against Defendants in the Action), and finds that the Settlement is,

in all respects, fair, reasonable, and adequate to the Classes. Specifically, the Court finds that:

(a) Lead Plaintiffs and Lead Counsel have adequately represented the Classes; (b) the Settlement




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was negotiated by the Parties at arm’s length and in good faith; (c) the relief provided for the

Classes under the Settlement is adequate taking into account the costs, risks, and delay of trial and

appeal; the proposed means of distributing the Settlement Fund to the Classes; and the proposed

attorneys’ fee award; and (d) the Settlement treats Class Members equitably relative to each

other. The Parties are directed to implement, perform, and consummate the Settlement in

accordance with the terms and provisions contained in the Stipulation.

       6.      The Action and all of the claims asserted against Defendants in the Action by Lead

Plaintiffs and the other Class Members are hereby dismissed with prejudice. The Parties shall

bear their own costs and expenses, except as otherwise expressly provided in the Stipulation.

       7.      Binding Effect – The terms of the Stipulation and of this Judgment shall be forever

binding on Defendants, Lead Plaintiffs, and all other Class Members (regardless of whether or not

any individual Class Member submits a Claim Form or seeks or obtains a distribution from the Net

Settlement Fund), as well as their respective successors and assigns.

       8.      Releases – The Releases set forth in paragraphs 4, 5, and 6 of the Stipulation,

together with the definitions contained in paragraph 1 of the Stipulation relating thereto, are

expressly incorporated herein in all respects. The Releases are effective as of the Effective Date.

Accordingly, this Court orders that:

               (a)     Without further action by anyone, and subject to paragraph 9 below, upon

the Effective Date of the Settlement, Lead Plaintiffs and each of the other members of the

Exchange Act Class, on behalf of themselves, and their respective heirs, executors,

administrators, predecessors, successors, and assigns in their capacities as such, shall be deemed

to have, and by operation of law and of this Judgment shall have, fully, finally, and forever

compromised, settled, released, resolved, relinquished, waived, and discharged any and all




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Released Exchange Act Claims against Defendants and the other Defendants’ Releasees, and

shall forever be barred and enjoined from prosecuting any and all Released Exchange Act Claims

against any of the Defendants’ Releasees. This Release shall not apply to any of the Excluded

Exchange Act Claims; and

               (b)       Without further action by anyone, and subject to paragraph 9 below, upon

the Effective Date of the Settlement, Lead Plaintiffs and each of the other members of the

Securities Act Class, on behalf of themselves, and their respective heirs, executors,

administrators, predecessors, successors, and assigns in their capacities as such, shall be deemed

to have, and by operation of law and of this Judgment shall have, fully, finally, and forever

compromised, settled, released, resolved, relinquished, waived, and discharged any and all

Released Securities Act Claims against Defendants and the other Defendants’ Releasees, and

shall forever be barred and enjoined from prosecuting any and all Released Securities Act Claims

against any of the Defendants’ Releasees. This Release shall not apply to any of the Excluded

Securities Act Claims.

               (c)       Without further action by anyone, and subject to paragraph 9 below, upon

the Effective Date of the Settlement, Defendants, on behalf of themselves, and their respective

heirs, executors, administrators, predecessors, successors, and assigns in their capacities as such,

shall be deemed to have, and by operation of law and of this Judgment shall have, fully, finally,

and forever compromised, settled, released, resolved, relinquished, waived, and discharged any

and all Released Defendants’ Claim against Lead Plaintiffs and the other Plaintiffs’ Releasees,

and shall forever be barred and enjoined from prosecuting any and all Released Defendants’

Claims against any of the Plaintiffs’ Releasees. This Release shall not apply to any of the

Excluded Defendants’ Claims.




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       9.        Notwithstanding paragraphs 8(a) – (c) above, nothing in this Judgment shall bar

any action by any of the Parties to enforce or effectuate the terms of the Stipulation or this

Judgment.

       10.       Rule 11 Findings – The Court finds and concludes that the Parties and their

respective counsel have complied in all respects with the requirements of Rule 11 of the Federal

Rules of Civil Procedure in connection with the institution, prosecution, defense, and settlement

of the Action.

       11.       No Admissions – Neither this Judgment, the Term Sheet, the Stipulation (whether

or not consummated), including the exhibits thereto and the Plan of Allocation contained therein

(or any other plan of allocation that may be approved by the Court), the negotiations leading to

the execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in

connection with the Term Sheet, the Stipulation, and/or approval of the Settlement (including

any arguments proffered in connection therewith):

                 (a)    shall be offered against any of the Defendants’ Releasees as evidence of,

or construed as, or deemed to be evidence of any presumption, concession, or admission by any

of the Defendants’ Releasees with respect to the truth of any fact alleged by Lead Plaintiffs or

the validity of any claim that was or could have been asserted or the deficiency of any defense

that has been or could have been asserted in this Action or in any other litigation, or of any

liability, negligence, fault, or other wrongdoing of any kind of any of the Defendants’ Releasees

or in any way referred to for any other reason as against any of the Defendants’ Releasees, in any

arbitration proceeding or other civil, criminal, or administrative action or proceeding, other than

such proceedings as may be necessary to effectuate the provisions of the Stipulation;




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               (b)     shall be offered against any of the Plaintiffs’ Releasees, as evidence of, or

construed as, or deemed to be evidence of any presumption, concession, or admission by any of

the Plaintiffs’ Releasees that any of their claims are without merit, that any of the Defendants’

Releasees had meritorious defenses, or that damages recoverable under the Complaint would not

have exceeded the Settlement Amount or with respect to any liability, negligence, fault, or

wrongdoing of any kind, or in any way referred to for any other reason as against any of the

Plaintiffs’ Releasees, in any arbitration proceeding or other civil, criminal, or administrative

action or proceeding, other than such proceedings as may be necessary to effectuate the

provisions of the Stipulation; or

               (c)     shall be construed against any of the Releasees as an admission,

concession, or presumption that the consideration to be given under the Stipulation represents the

amount which could be or would have been recovered after trial;

provided, however, that the Parties and the Releasees and their respective counsel may refer to

the Stipulation and/or this Judgment to effectuate the protections from liability granted

thereunder or otherwise to enforce the terms of the Settlement.

       12.     Retention of Jurisdiction – Without affecting the finality of this Judgment in any

way, this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of

the administration, interpretation, implementation, and enforcement of the Settlement; (b) the

disposition of the Settlement Fund; (c) any motion for an award of attorneys’ fees and/or Litigation

Expenses by Lead Counsel in the Action that will be paid from the Settlement Fund; (d) any

motion to approve a Plan of Allocation; (e) any motion to approve the Class Distribution Order;

and (f) the Class Members for all matters relating to the Action.




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        13.     Separate orders shall be entered regarding approval of a Plan of Allocation and

 the motion of Lead Counsel for an award of attorneys’ fees and Litigation Expenses. Such

 orders shall in no way affect or delay the finality of this Judgment and shall not affect or delay

 the Effective Date of the Settlement.

        14.     Modification of the Agreement of Settlement – Without further approval from

 the Court, Lead Plaintiffs and Defendants are hereby authorized to agree to and adopt such

 amendments or modifications of the Stipulation or any exhibits attached thereto to effectuate the

 Settlement that: (a) are not materially inconsistent with this Judgment; and (b) do not materially

 limit the rights of Class Members in connection with the Settlement. Without further order of

 the Court, Lead Plaintiffs and Defendants may agree in writing to reasonable extensions of time

 to carry out any provisions of the Settlement.

        15.     Termination of Settlement – If the Settlement is terminated as provided in the

 Stipulation, this Judgment shall be vacated and rendered null and void, and shall be of no further

 force and effect, except as otherwise provided by the Stipulation, and this Judgment shall be

 without prejudice to the rights of Lead Plaintiffs, the other Class Members, and Defendants and

 Lead Plaintiffs and Defendants shall revert to their respective positions in the Action as of

 immediately prior to the execution of the Term Sheet on October 8, 2021, as provided in the

 Stipulation.

        16.     Entry of Final Judgment – There is no just reason to delay the entry of this

 Judgment as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly

 directed to immediately enter this final judgment in this Action.




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       SO ORDERED this WKday of 0DUFK2022.




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